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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
                                                                  :
GUCCI AMERICA, INC., BALENCIAGA                                   :
AMERICA INC., BALENCIAGA S.A., BOTTEGA :
VENETA INTERNATIONAL S.A.R.L.,                                    :
BOTTEGA VENETA INC., LUXURY GOODS                                 :
INTERNATIONAL (L.G.I.) S.A. and YVES SAINT :
LAURENT AMERICA, INC.                                             :           2010 Civ. 4974 (RJS)
                                                                  :
                  Plaintiffs,                                     :
                                                                  :
         -against-                                                :
                                                                  :
WEIXING LI a/k/a XIN LI, LIJUN XU a/k/a JACK
                                                                  :
LONDON and TING XU a/k/a JACK LONDON
                                                                  :
a/k/a XU TING a/k/a REBECCA XU, WENYING
                                                                  :
GUO, XIAOCHAO SHANG, LEI XU, FENGYUAN
                                                                  :
ZHAO, LIQUN ZHAO, MING ZHAO, and
                                                                  :
PEIYUAN ZHAO, all doing business as
                                                                  :
REDTAGPARTY, MYLUXURYBAGS.COM,
                                                                  :
KUELALA.COM, XPRESSDESIGNERS.COM,
                                                                  :
XPRESSDESIGNER.NET, and DESIGNER
                                                                  :
HANDBAGS; ABC COMPANIES;
                                                                  :
and JOHN DOES,
                                                                  :
                  Defendants.                                     :
                                                                  :
----------------------------------------------------------------- X

         MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
        FOR AN ORDER COMPELLING BANK OF CHINA’S PRODUCTION OF
       DOCUMENTS REQUESTED IN PLAINTIFFS’ 2010 AND 2011 SUBPOENAS


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        Upon remand, Plaintiffs Gucci America, Inc., Balenciaga America Inc., Balenciaga S.A.,

Bottega Veneta International S.a.r.l., Bottega Veneta Inc., Luxury Goods International (L.G.I.) S.A.,

and Yves Saint Laurent America, Inc. (collectively, “Plaintiffs”) respectfully submit this

memorandum of law in support of their motion for an order compelling nonparty Bank of China

(“BOC” or the “Bank”) to produce account documents relating to all Defendants as called for in the

July 16, 2010 and February 23, 2011 subpoenas (“Subpoenas”). See Weigel Decl. Exs. 37-38. To

resolve BOC’s claim that there was ambiguity in this Court’s August 23, 2011 order, Plaintiffs

respectfully request that this Court make it even clearer that it is ordering production of documents

related to all Defendants, including: Wenying Guo, Xiaochao Shang, Lei Xu, Fengyuan Zhao, Liqun

Zhao, Ming Zhao, and Peiyuan Zhao. See ECF 116. As set forth in greater detail below, under both

the well-settled case law of this Circuit and the clear guidance set forth in the Second Circuit’s

opinion in this case, this Court has full jurisdiction to order the relief requested.

                                 PRELIMINARY STATEMENT

        Defendants are serial counterfeiters who—in defiance of multiple court orders—sold millions

of dollars of counterfeits of Plaintiffs’ merchandise in the United States. Defendants ran their illegal

operation in the United States from California, where at least three Defendants resided. Defendants

transacted over $2 million in fraudulent sales through just one U.S. payment processor. Defendants

needed to transfer their ill-gotten U.S. dollars to China to pay for their counterfeit products and to

secret their assets offshore. Accordingly, U.S. dollars were transferred to BOC through BOC’s

correspondent account at Chase Bank—headquartered in New York—and through BOC’s

participation in other wire services located in New York.

        Plaintiffs sought discovery from BOC to uncover the volume of Defendants’ sales and to

determine what they did with their illegal proceeds—funds that in equity belong to Plaintiffs. This




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Court ordered BOC to comply with Plaintiffs’ Subpoena, recognizing that “the documents requested

in the Subpoena are important to the instant litigation.” ECF 75 at 7. Rejecting BOC’s argument

that Chinese bank secrecy law shields the Bank from complying with the same discovery obligations

owed by any bank in New York, this Court found, among other things, that the United States’

“powerful interest” in protecting intellectual property outweighed China’s demonstrably limited

interest in bank secrecy and that the Bank’s purported exposure to liability for producing the

requested information was “unduly speculative.” Id. at 11-12.

       On appeal, the Second Circuit affirmed this Court’s approach, holding that its comity

analysis under Section 442 of the Restatement (Third) of Foreign Relations Law was proper. See

Gucci Am., Inc. v. Bank of China, 768 F.3d 122, 141 (2d Cir. 2014). The U.S. Government, as

invited amicus curiae, agreed that “there was no reversible error in the Gucci court’s order

compelling BOC to comply with Gucci’s document subpoena.” 2d Cir. Dkt. 319 at 22.

       The Second Circuit also affirmed this Court’s authority to impose a prejudgment asset freeze

on Defendants, holding that the Court only needed (and had) personal jurisdiction over Defendants

to do so. Gucci Am., 768 F.3d at 125-26, 129, 141-42. The Circuit found that this Court had the

“inherent equitable authority” to issue the freeze to preserve Plaintiffs’ right to an accounting under

the Lanham Act, observing that “a trademark infringer is required in equity to account for and yield

up his gains to the true owner.” Id. at 130-31.

         The Second Circuit reversed this Court’s finding of civil contempt and its imposition of

civil monetary sanctions on BOC, finding that the scope of the required production as set forth in

this Court’s August 23, 2011 order was not sufficiently clear. Id. at 144. Given the absence of any

record concerning the issue of personal jurisdiction over BOC, the Second Circuit also remanded the

case for this Court to consider whether it has personal jurisdiction over BOC to enforce its orders in




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light of the newly decided Daimler AG v. Bauman, 134 S. Ct. 746 (2014), which held that a foreign

defendant is not subject to general personal jurisdiction in a forum in which it is not “at home.” See

Gucci Am., 768 F.3d at 134-35.

       The Circuit described the test for asserting specific jurisdiction over a nonparty as assessing

“the connection between the nonparty’s contacts with the forum and the order at issue” and then

determining “whether exercising jurisdiction for the purposes of the order would comport with fair

play and substantial justice.” Id. at 137. Recognizing the lesser burden imposed by a subpoena, the

court noted that “a person who is subjected to liability ... far from home may have better cause to

complain of an outrage to fair play than a nonparty.” Id. at 137 n.16. Regarding the Subpoenas,

“[i]n evaluating BOC’s contacts with the forum, the district court may wish to consider whether the

relevant contacts for this inquiry are with the United States, rather than with New York.” Id. at 142.

       Applying the Circuit’s guidance, it is clear that this Court can exercise specific jurisdiction to

order BOC to comply with the Subpoenas. There is a strong nexus between BOC’s contacts in New

York and the United States and the discovery sought by Plaintiffs concerning the BOC accounts in

which Defendants deposited their counterfeiting proceeds.

       BOC was the conduit for the transactions by which Defendants shipped their illegal profits to

China and each of these transactions occurred through BOC’s banking mechanisms in New York (or

elsewhere in the United States). BOC asserts that its New York branches are “the principal U.S.

dollar clearing channel of Bank of China Group worldwide.” Weigel Decl. Ex. 1. Defendants

wired at least $330,000 in funds from their accounts at Chase to accounts at BOC by transferring

money from the counterfeiters’ Chase accounts to BOC’s Head Office’s account at Chase. By

opening a correspondent account at Chase in New York, BOC’s Head Office facilitated transfers

directly from Chase’s customers, including Defendants, to BOC’s customers. That is the pathway




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that BOC used to move the counterfeiters’ proceeds into BOC accounts:

    •   On December 24, 2009, a transfer of $50,000 from Defendant Ting Xu’s Chase Account
        was made to BOC’s Head Office’s account at Chase (“BOC’s Chase Account”) (Defendant
        Lei Xu beneficiary). Weigel Decl. Ex. 2.

    •   On January 11, 2010, a transfer of $50,000 from Defendant Ting Xu’s Chase Account was
        made to BOC’s Chase Account (Defendant Peiyuan Zhao beneficiary). Id. Ex. 3.

    •   On January 14, 2010, a transfer of $50,000 from Defendant Ting Xu’s Chase Account was
        made to BOC’s Chase Account (Defendant Xu Ting beneficiary). Id. Ex. 4.

    •   On March 16, 2010, a transfer of $50,000 from Defendant Ting Xu’s Chase Account was
        made to BOC’s Chase Account (Defendant Liqun Zhao beneficiary). Id. Ex. 5.

    •   On March 19, 2010, a transfer of $50,000 from Defendant Ting Xu’s Chase Account was
        made to BOC’s Chase Account (Defendant Wenying Guo beneficiary). Id. Ex. 6.

    •   On June 10, 2010, a transfer of $50,000 from Defendant Ting Xu’s Chase Account was
        made to BOC’s Chase Account (Defendant Fengyuan Zhao beneficiary). Id. Ex. 7.

    •   On June 25, 2010, a transfer of $30,000 from Defendant Ting Xu’s Chase Account was
        made to BOC’s Chase Account (Defendant Xin Li beneficiary). Id. Ex. 8.

        In addition, BOC used Chase’s head office in New York as the intermediary bank to effect at

least $200,000 in wire transfers from their Chase accounts to BOC accounts:

   •    On June 30, 2009, Defendant Ting Xu initiated a wire transfer of $50,000 from Chase to
        BOC (Defendant Wenying Guo beneficiary), using Chase’s head office in New York as the
        intermediary bank. Id. Ex. 9.

   •    On July 10, 2009, Defendant Ting Xu initiated a wire transfer of $50,000 from Chase to
        BOC (Defendant Ming Zhao beneficiary), using Chase’s head office in New York as the
        intermediary bank. Id. Ex. 10.

   •    On July 27, 2009, Defendant Lijun Xu initiated a wire transfer of $50,000 from Chase to
        BOC (Defendant Liqun Zhao beneficiary), using Chase’s head office in New York as the
        intermediary bank. Id. Ex. 11.

   •    On October 19, 2009, Defendant Ting Xu initiated a wire transfer of $50,000 from Chase to
        BOC (Defendant Xiaochao Shang beneficiary), using Chase’s head office in New York as
        the intermediary bank. Id. Ex. 12.

        BOC’s deliberate and recurring use of New York banking facilities are sufficient to establish

minimum contacts over BOC to enforce Subpoenas seeking discovery concerning the counterfeiters’


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attempts to hide their ill-gotten gains. Once minimum contacts are established, specific jurisdiction

is presumed reasonable, and BOC bears the heavy burden of overcoming that presumption. The

five-factor analysis applied in this Circuit makes clear that BOC cannot meet its burden: (1) As a

corporate entity that has multiple offices in New York and initiated numerous lawsuits in this Court

and elsewhere in New York, BOC’s burden in litigating in New York is minimal; (2) both New York

and the United States have a manifest interest in providing Plaintiffs with effective relief; (3)

Plaintiffs have an indisputable interest in obtaining relief in this Court; (4) this dispute will be most

efficiently resolved in this Court, since it is familiar with the facts and procedural history of this

litigation; and (5) the critical role of Rule 45 subpoenas in federal civil litigation, as well as

Congress’s strong concern for ensuring uniform treatment of foreign and domestic banks, confirm

the reasonableness of exercising specific jurisdiction.

        In addition to its numerous in-forum contacts, which are directly relevant to the discovery

Plaintiffs seek, BOC is subject to this Court’s specific jurisdiction for two independent reasons:

        First, BOC was properly served under Rule 45, which is presumptively constitutional, and

can therefore be required to produce documents within 100 miles of where it regularly conducts

business. Second, under federal law, BOC was required to agree to subject itself to service of

process in New York to obtain a banking license. Accordingly, BOC has consented to personal

jurisdiction in New York. See 12 C.F.R. § 28.21 (“A foreign bank operating at any Federal branch

or agency is subject to service of process at the location of the Federal branch ….”).

        Finally, the Second Circuit affirmed this Court’s application of the comity factors set forth in

Section 442 of the Restatement (Third) of Foreign Relations Law, see Gucci Am., 768 F.3d at 141.

The judgments of the Beijing Intermediate Court (“Beijing Judgment”) and Beijing High Court that

BOC subsequently invoked on appeal further support this Court’s conclusion that the strong U.S.




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interest in enforcing the Lanham Act trumps the Bank’s “speculative” claims of hardship in

complying with China’s bank secrecy law. ECF 75 at 13. BOC has insisted throughout this

litigation that Chinese law forbade it both from freezing Defendants’ accounts and from disclosing

information about them. However, when BOC decided it was strategically advantageous to do so,

BOC publicly filed the Beijing Judgment in the Second Circuit. Not only does the Beijing Judgment

reveal the existence of 30 separate bank accounts and transactions (most of which had never been

revealed during the prior proceedings before this Court), but it also reveals the value of the contents

of those accounts.

       Critically, the Beijing Judgment revealed for the first time the existence of accountholder

agreements that permit BOC to unilaterally freeze Defendants’ accounts. BOC’s failure to produce

account opening documents (even for the two accounts it admitted were specifically identified in

Plaintiff’s 2010 Subpoena), combined with its failure to inform the Court of contractual provisions

that allow BOC to freeze customer accounts, is evidence of BOC’s bad faith. The Bank’s bad faith

further weighs in favor of ordering production under the comity analysis applied in this District.

Indeed, Judges Buchwald and Scheindlin have both recently found that “BOC has shown bad faith

toward its discovery obligations” by making “‘a conscious decision to selectively disclose

information ... only as it suits BOC’s litigation interests.’” Wultz v. Bank of China Ltd., 942 F. Supp.

2d 452, 468 (S.D.N.Y. 2013) (quoting Tiffany (NJ) LLC v. Forbse, 11 Civ. 4976 (NRB), 2012 WL

3686289, at *6 (S.D.N.Y. Aug. 23, 2012)). Not only did BOC have the ability to freeze the

counterfeiters’ accounts (contrary to its representations to this Court), BOC has actually done so.

BOC informed the Second Circuit that it had obtained a court order freezing Defendants’ accounts.

       In sum, BOC has deliberately availed itself of the benefits of conducting business in New

York—including facilitating the very transactions by which Defendants shipped the proceeds of their




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crimes to China—and is obliged to comply with its discovery obligations.

                                    STATEMENT OF FACTS

       This Court is well versed in the facts surrounding BOC’s failure to comply with this Court’s

orders compelling BOC to produce documents indisputably critical to Plaintiffs’ claims. See ECF

75, 98, 116. The following recitation provides facts bearing on the remaining issues.

       A.      BOC Conducts Extensive Activities in the United States

       BOC “conducts its banking operations in the United States through five federally licensed

branches” located in New York, Chicago, Los Angeles, and San Francisco. Weigel Decl. Ex. 13 at

4. BOC owns real property in New York. Id. Ex. 14. BOC both owns and holds numerous

mortgages on real property in New York. Id. Ex. 15.

       BOC is a “member bank of the Federal Reserve System” and performs clearance and

settlement services with its accounts at the Federal Reserve System. Id. Ex. 16. BOC identified its

New York branches as a “Material Entity,” defined as a “foreign office ... that is significant to the

activities of a Critical Operation or Core Business Line” of the Bank. Id. Ex. 13 at 6.

       According to BOC, its New York branches are “the principal U.S. dollar clearing channel

of Bank of China Group worldwide” and “the No. 1 choice of U.S. dollar wire transfers to and

from China by many financial institutions, corporations and individuals.” Weigel Decl. Ex. 1

(emphasis added). Those branches are “designated as the U.S. dollar funding pool within the Bank’s

global operations” and “arrange[] U.S. dollar funding for other overseas branches and [BOC’s] Head

Office.” Id. Ex. 13 at 8. They further “provide[] funding operations to U.S. branches[,] provide[]

U.S. dollar funding … to other Bank of China foreign branches and affiliates,” and “manage[] the

liquidity for other U.S. branches.” Id. at 7.

       In addition, BOC “has also established direct correspondent relationships with hundreds of




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banks in the U.S.” Id. Ex. 17.1 These correspondent accounts allow BOC to effectuate wire transfers

directly through book transfers into BOC’s New York bank accounts.

        B.      Bank of China’s New York Contacts Relate Directly to this Litigation

         The Subpoenas seek information about BOC accounts connected with Defendants’

counterfeiting operation. Weigel Decl. Exs. 37-38. As discussed above, Defendants used BOC to

effect at least 11 transfers totaling more than $500,000, and each transfer involved BOC’s activities

in New York. These transactions are likely just the tip of the iceberg, as Defendants generated over

$2 million in sales in the U.S. See ECF 9-11. Any additional transfers of U.S. dollars to any of

Defendants’ many accounts at BOC necessarily involved either BOC’s correspondent accounts in

New York or wire transfer networks located in New York in which BOC is a member.2

         BOC “is a real time on-line member bank of” CHIPS and Fedwire, which the Bank calls “the

two major payment systems in the U.S.” Weigel Decl. Ex. 17. By its own estimate, BOC “ranks

around 10th by volume among 52 member banks of the CHIPS.” Id. BOC offers its U.S.-China

wire transfer services through its New York branches by implementing a payment system that “is

fully automated and connected to the SWIFT, CHIPS and FEDWIRE systems.” Id.



 1
     “A correspondent bank account is a domestic bank account held by a foreign bank, similar to a
     personal checking account used for deposits, payments and transfers of funds,” and “facilitate[s]
     the flow of money worldwide.” Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d
     161, 165 n.3 (2d Cir. 2013).
 2
     “A wire transfer is not really a direct transfer of funds from [originator] to [beneficiary]. Instead,
     it is a series of transactions. With the completion of each payment order, a bank becomes
     obligated to pay funds to the next link in the chain, culminating with the duty of the beneficiary’s
     bank to pay the beneficiary.” 3-17 Barkley Clark & Barbara Clark, The Law of Bank Deposits,
     Collections and Credit Cards ¶ 17.01 (2013). “In other words, a wire transfer is a series of
     contractual obligations to pay rather than a direct exchange of funds from buyer to seller.” Id.
     “The common denominator is that the originator directly transmits an instruction to a bank either
     to make payment to the beneficiary or to instruct some other bank to make the payment; the
     payment from originator to beneficiary occurs when the beneficiary’s bank becomes obligated to
     make the payment.” Id.

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        CHIPS. “[T]he company that owns and operates CHIPS is located in New York, and CHIPS

payment messages typically are routed through communications and computer equipment located in

New York.” Id. Ex. 18 at 13. BOC is a member of and stakeholder in CHIPS. See id. at 46, 51-52.

BOC and other CHIPS “members jointly maintain a pre-funded balance account (CHIPS account) on

the books of the Federal Reserve Bank of New York.” Id. Ex. 19.3

        Fedwire. Financial institutions such as BOC that “hold an account with a Federal Reserve

Bank are eligible to participate in … Fedwire.” Id. Ex. 20. For Fedwire fund transfers, “a sender,

receiving bank or beneficiary is located in the Federal Reserve District as determined under the

procedure described in … 12 C.F.R. [§ 204.3(g)(1)].” Id. Ex. 21 ¶ 4.1. BOC is deemed located in

New York anytime it sends or receives wire transfer messages via Fedwire.4

        BOC’s self-proclaimed dominance in U.S-China fund transfers is wholly dependent on its

extensive use of New York-based correspondent accounts and wire services, which were also the

specific means by which Defendants transferred dollars to BOC.

        C.     BOC Consented to Personal Jurisdiction in New York Courts

        By opening its New York branches under federal regulations, BOC consented to service of

process in New York. See 12 C.F.R. § 28.21. In addition, on numerous occasions, BOC obtained



 3
     Further, as a CHIPS member, BOC was “required to execute the CHIPS Participant Agreement,”
     under which “[t]he rights and obligations of Participants and all other parties to a funds transfer
     of which a CHIPS payment message is a part, arising from the funds transfer or from [CHIPS]
     Rules, shall be governed by the laws of the State of New York.” Weigel Decl. Ex. 18 at 12.
 4
     12 C.F.R. § 204.3(g) provides that a U.S. branch of a foreign bank “is located in the Federal
     Reserve District that contains the location specified in the institution’s charter, organizing
     certificate, license, or articles of incorporation”—here, New York. See id. Ex. 22. In addition,
     to participate in Fedwire, BOC had to execute a “Foreign Banking Institution Account
     Agreement.” Id. Ex. 23 § 2.6. That agreement provides (among other things) that it “shall be
     construed in accordance with … the laws of the state of New York to the extent such laws are
     not inconsistent with Federal Law.” Id. Ex. 24 ¶ 1.


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the benefits of New York law by bringing suits in New York State and federal courts.5

        BOC also conditions use of its online banking services on execution of an internet banking

services agreement, which provides that “[a]ny disputes arising from or related to this

Agreement … or the Online Services provided to you by Bank of China shall be governed by the

laws of the State of New York” and that “[a]ll actions, suits, or other proceedings in connection with

the transactions contemplated by this Agreement shall be brought … in the City, County, and State

of New York.” Weigel Decl. Ex. 25 ¶ 12.I (“[T]he Bank hereby irrevocably submit[s] to the

jurisdiction of” New York courts).6

       D.      Chinese Litigation Confirms BOC’s Right to Freeze Accounts

         BOC claimed throughout this litigation that Chinese law categorically prohibits it from

freezing Defendants’ accounts or disclosing information regarding those accounts. See, e.g., ECF

35, 37, 67, 90. BOC was equally emphatic that requiring it to do so would subject it to significant

fines and other civil liabilities. See, e.g., ECF 35 at 10; ECF 37 ¶¶ 19-26. BOC also represented to

this Court that “[n]one of the Defendants alleged to be a customer of BOC has consented to ... the


 5
     See, e.g., Bank of China v. Sub-Zero, Inc., 02 Civ. 4457 (S.D.N.Y.); Bank of China v. St. Paul
     Mercury Ins. Co., 03 Civ. 9797 (S.D.N.Y.); Bank of China N.Y. Branch v. NBM LLC, No. 01
     Civ. 4024 (S.D.N.Y.); Bank of China v. Chase Manhattan Bank, 98 Civ. 4787 (S.D.N.Y.); Bank
     of China v. Good Fortune, 97 Civ. 7664 (S.D.N.Y.); Bank of China v. Wang, 97 Civ. 5208
     (S.D.N.Y.); Bank of China v. L.J. Global, Inc., 95 Civ. 300 (S.D.N.Y.); Bank of China N.Y.
     Branch v. 42-31 Colden St. Corp., No. 1929784/2014 (N.Y. Sup. Ct.); Bank of China N.Y.
     Branch v. Wu Towers LLC, No. 1764123/2013 (N.Y. Sup. Ct.); Bank of China v. Wu Towers
     LLC, No. 0024298/2012 (N.Y. Sup. Ct.).
 6
     BOC’s use of wire networks evinces similar consent to personal jurisdiction. For example, the
     Fedwire “Foreign Banking Institution Account Agreement” provides that BOC “irrevocably
     agrees that any legal action or proceeding arising out of or relating to th[e] agreement may be
     brought in Federal or State courts in the [U.S.] where the head office of the Reserve Bank is
     located.” Weigel Decl. Ex. 24 ¶ 4. In addition, BOC’s authorization to participate in Fedwire
     requires that BOC “submits to jurisdiction in Federal or State courts in the United States of
     America where the head office(s) of any Reserve Bank at which [the bank] maintains a Master
     Account is located.” Weigel Decl. Ex. 26 ¶ 4.


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restraint of its assets.” ECF 35 at 7. However, the Beijing Judgment filed by BOC with the Second

Circuit disproves these assertions. See 2d Cir. Dkt. 291-2.7

        The Beijing Judgment reveals that BOC conditioned its banking services on a previously

undisclosed account services agreement with Defendants that gives BOC the contractual right to

freeze Defendants’ accounts unilaterally if BOC suspects Defendants are “engaging in … illegal or

criminal activities.” Id. at 21; see also id. at 18-19. Amazingly, as if BOC did not wish to prevail,

the Beijing Judgment indicates BOC “failed to produce evidence to prove that [Defendants]”

violated the agreement or “that [BOC] had justifiable reason … to cease to provide services to

[Defendants].” Id. at 21-22. All BOC had to do was provide evidence that it had a justifiable reason

to suspect its customers of counterfeiting. In light of the uncontroverted evidence in the record of

the Defendants’ counterfeiting—including two prior final judgments entered against Defendants for

counterfeiting luxury brand goods8—BOC could easily have made this showing. For some reason it

did not, and the Chinese court ordered BOC to unfreeze Defendants’ accounts and to pay a court fee

of less than twelve dollars. Id. at 22; see also Second Declaration of Donald Clarke (“Second Clarke

Decl.”), filed herewith (providing expert analysis of these points).

        However, after receiving this convenient ruling against it, BOC did not actually let the

counterfeiters empty their accounts. Instead, BOC filed a separate suit in China against certain

Defendants, seeking compensation for costs that it incurred in this litigation. 2d Cir. Dkt. 334. BOC


 7
     Notably, BOC never filed a properly authenticated judgment. Although BOC dubs the
     December 2013 judgment “fully-authenticated,” 2d Cir. Dkt. 291-1, the notarial certificate
     attached to the copy of the judgment BOC filed merely certifies that the copy is an exact
     duplicate of a document provided by BOC to the notary, 2d Cir. Dkt. 291-2 at 23 (“Issue under
     notarization: True and Exact Photocopy”). Accordingly, Plaintiffs do not concede the
     admissibility of the Beijing Judgment under Fed. R. Evid. 901.
 8
     See ECF 53-1 (Final Default J., Chanel Inc. v. Ting Xu, No. 07 CV 1783 (S.D. Cal. Oct. 22,
     2008)); ECF 53-2 (Final Default J., Louis Vuitton Malletier, S.A. v. Ting Xu, No. 09-60034-CIV
     (S.D. Fla. June 23, 2009)).

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sought and obtained a freeze of the funds in those Defendants’ accounts to preserve a potential

award of damages to BOC. Id. Clearly BOC was able to produce sufficient evidence to persuade

the Chinese court to freeze the Defendants’ accounts when it suited BOC’s interests.

        The Beijing Judgment further belies BOC’s claims of absolute bank secrecy law. The

Chinese court heard the case “in public” and rendered a decision that BOC filed publicly with the

Second Circuit. 2d Cir. Dkt. 291-2 at 17. That decision identified Defendants’ 30 accounts and

transactions with BOC with an approximate value of over $450,000.9 Id. at 17-18. In fact, “a list of

the bank accounts and funds deposited therein [was] attached” to the Chinese Civil Complaint for

that case. 2d Cir. Dkt. 185-5. BOC has never produced this information.10

                                           ARGUMENT

I.      BOC’S CONTACTS WITH NEW YORK GIVE RISE TO SPECIFIC
        JURISDICTION TO ENFORCE THE SUBPOENAS

        “The due process test for personal jurisdiction has two related components: the ‘minimum

contacts’ inquiry and the ‘reasonableness’ inquiry.” Metro. Life Ins. Co. v. Robertson-Ceco Corp.,

84 F.3d 560, 567 (2d Cir. 1996); see also Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158,

164 (2d Cir. 2010). Both prongs are met here.

       A.      BOC Has Sufficient Minimum Contacts with the Forum

        Due process “is satisfied if [BOC] has ‘purposefully directed’ [its] activities at residents of

the forum, and the litigation results from alleged injuries that arise out of or relate to those

activities.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985). “Where activity in the




 9
     The transactions identified by the Chinese court totaled RMB 2,956,732.56, which is
     approximately $ 468,408.12 in U.S. dollars. Weigel Decl. Ex. 27 (World Bank 2012 rate).
10
     BOC asked the Second Circuit take judicial notice of documents pertaining to the Defendants’
     Chinese suit without their attachments. See 2d Cir. Dkt. 185-2.

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forum state is the genesis of the dispute, this [nexus] is easily satisfied.” Tire Eng’g & Distrib., LLC

v. Shandong Linglong Rubber Co., Ltd., 682 F.3d 292, 303 (4th Cir. 2012).

        In the context of a Rule 45 subpoena, the Court may consider the relevance of “contacts with

the United States as a whole.” Gucci Am., 768 F.3d at 142 n.23 (citing cases). The proper nexus is

the nonparty’s contacts and whether they “involve activities that are the very source of

the … interest in the [nonparty],” or are related to or give rise to the subpoena enforcement

proceedings. In re Application to Enforce Admin. Subpoenas Duces Tecum of SEC v. Knowles, 87

F.3d 413, 418 (10th Cir. 1996) (subpoena on foreign citizen).11 A nonparty’s contacts are sufficient

to support the exercise of specific jurisdiction where they relate to matters sought to be investigated.

Id. at 418-19; In re Maranthe, 459 B.R. 850, 859 (Bankr. M.D. Fla. 2011). (“[T]he appropriate

inquiry is whether the witness has a nexus to the activities being investigated in the underlying legal

proceeding.”).

        This makes good sense: broadly speaking, specific jurisdiction (and the minimum contacts

inquiry) focuses on “an affiliation between the forum and the underlying controversy” and “issues

deriving from, or connected with, the very controversy that establishes jurisdiction.” Goodyear

Dunlop Tires Operations, S.A. v. Brown, 131 S. Ct. 2846, 2851 (2011) (emphasis added); see also

Licci ex rel. Licci v. Lebanese Canadian Bank, SAL, 732 F.3d 161, 169-70 (2d Cir. 2013). In the

context of a Rule 45 subpoena, the “controversy” between a plaintiff and the subpoenaed nonparty is

the discovery request, and whether the nonparty should have to comply.

        BOC’s in-forum contacts clearly evince purposeful availment of the benefits of New York

and the United States, and are unquestionably related to the information sought in the Subpoenas.




11
     See also Gucci Am., 768 F.3d at 141-42; Ryan W. Scott, Note, Minimum Contacts, No Dog:
     Evaluating Pers. Juris. for Nonparty Discovery, 88 Minn. L. Rev. 968, 1005-06 (2004).

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The Second Circuit held that a district court may exercise specific jurisdiction over a foreign bank

that maintains a correspondent bank account with a New York bank to process U.S.-dollar-

denominated wire transfers, where those transfers “have been used as an instrument to achieve the

very wrong alleged.” Licci, 732 F.3d at 171. “It should hardly be unforeseeable to a bank that

selects and makes use of a particular forum’s banking system that it might be subject to the burden

of [proceedings] in that forum for [information] related to, and arising from, that use.” Id. at 171-72.

Indeed, repeatedly processing “U.S.-dollar-denominated wire transfers” in New York constitutes

“purposeful availment of New York’s dependable and transparent banking system, the dollar as a

stable and fungible currency, and the predictable jurisdictional and commercial law of New York

and the United States.” Id. at 171.

       Here, the Subpoenas seek information related to Defendants’ transfers of counterfeiting

proceeds—in U.S. dollars—to Defendants’ BOC accounts in China. BOC’s contacts with these

transfers are significant and deliberate. Defendants’ book transfers moved funds to BOC’s Head

Office’s correspondent account at Chase. And Defendants’ wire transfers to BOC, made via SWIFT,

used Chase as the intermediary bank and required use of either BOC’s correspondent account at

Chase, or settlement through Fedwire or CHIPS in New York. Here, the burden imposed on BOC—

response to a subpoena—is less than in Licci, and BOC’s contacts are greater. BOC not only

processes wire transfers through a correspondent account in the forum, but also has long-established

branch offices in New York, which identify themselves as “the No. 1 choice of U.S. dollar wire

transfers to and from China” by individuals. Weigel Decl. Ex. 1. To effectuate such transfers, BOC

purposely and deliberately uses wire networks located in New York. BOC is a member and financial

stakeholder in CHIPS, an American LLC located in New York, and uses communications and

equipment located in New York to effectuate wire transfers. In addition, BOC maintains a pre-




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funded balance account on the Federal Reserve Bank of New York’s books to participate in CHIPS.

BOC ranks around 10th by volume among CHIPS’s 52 member banks, indicating frequent use of

New York facilities.12

        Moreover, the few documents BOC did produce reveal several instances where Defendants

withdrew funds from their Chinese BOC accounts in U.S. Dollars. Id. Exs. 28-36. BOC’s New

York branches are “the principal U.S. dollar clearing channel” of BOC “worldwide” (id. Ex. 1) and

are “designated as the U.S. dollar funding pool within the Bank’s global operations,” id. Ex. 13 at 8.

Those branches thereby provide “U.S. dollar funding … to other Bank of China foreign branches and

affiliates,” as well as to “BOC’s head office.” Id. at 7-8. For Defendants to be able to withdraw

funds in U.S. Dollars from China, the BOC branch or office from which Defendants made those

withdrawals had to have U.S. Dollars on hand. The responsibility for providing such funding laid

squarely with BOC’s branches in New York.

        Finally, other courts have held that the relevant jurisdictional test for a nonparty witness is

whether the subpoenaed documents requested relate to the litigation. See, e.g., In re Jee, 104 B.R.

289, 294 (Bankr. C.D. Cal. 1989). Plaintiffs’ Subpoenas readily meet this nexus. As this Court

recognized, “the documents requested in the Subpoena[s] are important to the instant litigation.”



12
     Similarly, by voluntarily participating in Fedwire, BOC agreed that for purposes of that service,
     both the Bank and its branches are located in New York. Under Fedwire regulations, even when
     the Bank is solely a recipient of a wire transfer message for Defendants’ Chinese BOC accounts,
     BOC is deemed to have received those payment messages in New York. And when BOC
     receives such messages through Fedwire, it has received that wire from the Federal Reserve
     Bank of New York. Furthermore, BOC has repeatedly acknowledged that its use of CHIPS and
     Fedwire is governed by federal and/or New York law. BOC has on numerous occasions
     consented to jurisdiction in federal or state courts in New York, including in its online banking
     relationships with accountholders, its participation in Fedwire, and its filing of at least 10
     lawsuits asking a New York court to award it affirmative relief. Having purposefully and
     repeatedly availed itself of the benefits of both New York and the United States, in ways that
     directly pertain to the information sought in the Subpoenas, BOC cannot seriously contend that it
     lies beyond the specific personal jurisdiction of this Court.

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ECF 75 at 7.

       B.      BOC Cannot Meet Its Burden of Showing that this Court’s Exercise of
               Specific Jurisdiction Is Unreasonable

        “The existence of minimum contacts makes jurisdiction presumptively constitutional.”

O’Connor v. Sandy Lane Hotel Co., Ltd., 496 F.3d 312, 324 (3d Cir. 2007); accord Ballard v.

Savage, 65 F.3d 1495, 1500 (9th Cir. 1995). BOC therefore bears a “heavy burden of rebutting

th[is] strong presumption in favor of jurisdiction,” Ballard, 65 F.3d at 1500, and must present “a

compelling case that the presence of some other considerations would render jurisdiction

unreasonable,” Metro. Life Ins. Co., 84 F.3d at 568 (2d Cir.). It cannot do so.

        Both the Supreme Court and the Second Circuit have instructed courts “to consider five

factors in evaluating reasonableness: (1) the burden that the exercise of jurisdiction will impose on

the defendant; (2) the interests of the forum state in adjudicating the case; (3) the plaintiff’s interest

in obtaining convenient and effective relief; (4) the interstate judicial system’s interest in obtaining

the most efficient resolution of the controversy; and (5) the shared interest of the states in furthering

substantive social policies.” Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 305 F.3d

120, 129 (2d Cir. 2002) (Sotomayor, J.); see also Burger King, 471 U.S. at 477. These factors

clearly weigh in favor of Plaintiffs here.

        Burden on BOC. “[T]aken alone,” BOC’s burden of litigating or producing documents in

New York “falls short of overcoming the plaintiff’s threshold showing of minimum contacts” due to

“the conveniences of modern communication and transportation.” Metro. Life Ins. Co., 84 F.3d at

574. Since “[i]t is almost always inconvenient and costly for a party to litigate in a foreign

jurisdiction,” BOC “must demonstrate that exercise of jurisdiction in the present circumstances is

onerous in a special, unusual, or other constitutionally significant way.” Nowak v. Tak How Invs.,

Ltd., 94 F.3d 708, 718 (1st Cir. 1996). This BOC cannot do. Personal jurisdiction over a foreign



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corporation such as BOC does not unfairly burden it since, among other things, BOC “control[s] a

vast, wealthy, and far-flung business empire which operates in most parts of the globe,” has “a

physical presence in the forum state, ha[s] access to enormous resources, face[s] little or no language

barrier, [and] ha[s] litigated in this country on previous occasions.” Wiwa v. Royal Dutch Petroleum

Co., 226 F.3d 88, 99 (2d Cir. 2000). “When minimum contacts have been established, often the

interests of the plaintiff and the forum in the exercise of jurisdiction will justify even the serious

burdens placed on the alien [nonparty].” Asahi Metal Indus. Co., Ltd. v. Superior Court of Cal., 480

U.S. 102, 114 (1987) (plurality opinion). Here, because BOC regularly litigates in New York by

choice (see supra at n.5), it has no cause to complain.

       Interest of Forum State. The court’s “task is not to compare the interest of the two

sovereigns—the place of the injury and forum state—but to determine whether the forum … has an

interest.” Nowak, 94 F.3d at 718. New York and the United States each have “a manifest interest in

providing effective means of redress for its residents.” Chloe, 616 F.3d at 173; accord O’Connor,

496 F.3d at 325. Indeed, the U.S. has a strong “interest in enforcing the Lanham Act and providing

robust remedies for its violation.” Gucci Am., 768 F.3d at 140. Here, several Plaintiffs reside in

New York and/or the United States, and both fora have a clear interest in providing them with

effective relief. And even if “an exercise of jurisdiction would conflict with [a foreign nation’s]

sovereignty,” that is “by no means controlling.” Ballard, 65 F.3d at 1501. Here, this Court already

considered and rejected such concerns—and the Second Circuit agreed. ECF 75 at 11-12, aff’d in

relevant part, Gucci Am., 768 F.3d at 141.

       Plaintiff’s Interest in Relief. This factor “necessarily favors” Plaintiffs, since several of

them reside in New York and/or the United States. See Chloe, 616 F.3d at 173. As this Court

previously found, “the documents sought by the Subpoena are likely to provide the most fruitful




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avenue for discovering the identity of additional infringers.” ECF 75 at 6. In addition, “information

related to Defendants’ bank accounts is likely to provide the most effective measure of the revenues

generated by Defendants in contravention of United States trademark laws.” Id. This factor further

weighs in favor of Plaintiffs since “there exists substantial doubt that [plaintiffs] could adequately

resolve the dispute in a foreign forum.” Nowak, 94 F.3d at 718; ECF 75 at 10 (the Hague

Convention is “not a viable alternative method of securing the information Plaintiffs seek.”).

        Efficient Administration of Justice. “This factor focuses on the judicial system’s interest in

obtaining the most effective resolution of the controversy.” Nowak, 94 F.3d at 718. And it weighs

in favor of plaintiff’s choice of forum where, as here, “the court there already is familiar with the

facts and procedural history of the litigation.” Ballard, 65 F.3d at 1502. This factor “weigh[s]

against a foreign jurisdiction where it is far from clear that there will be any judicial resolution, let

alone the most effective judicial resolution.” Nowak, 94 F.3d at 719.

        Policy Considerations. This factor “calls for a court to consider the procedural and

substantive policies of other nations whose interests are affected by the assertion of jurisdiction.”

Asahi Metal, 480 U.S. at 115. In this case, BOC can do nothing more than state policy concerns that

duplicate the arguments this Court has already found to be insufficient. ECF 75 at 13. Furthermore,

BOC cannot rely on international comity considerations to argue that exercising personal jurisdiction

would be unreasonable. See, e.g., Ballard, 65 F.3d at 1501. By contrast, several policies weigh in

favor of exercising personal jurisdiction here, including the U.S.’s strong “interest in enforcing the

Lanham Act.” Gucci Am., 768 F.3d at 140.

        First, “Federal Rule 45 has a close relation to the proper functioning of the discovery rules,”

9A Charles Alan Wright et al., Federal Practice and Procedure § 2452 (3d ed. 1998), which ensure

that “civil [litigation] in the federal courts” is not “carried on in the dark.” Hickman v. Taylor, 329




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U.S. 495, 501 (1947). Permitting nonparty foreign banks like BOC, with numerous in-forum

contacts, to evade Rule 45 would unquestionably debilitate civil litigation.

        Second, Congress enacted the International Banking Act, 12 U.S.C. § 3101 et seq., “which

permits a foreign bank to establish a federal branch—such as BOC’s New York branches,” because

it sought to “achiev[e] uniformity of treatment” and “competitive parity between domestic and

foreign banks.” Elmaliach v. Bank of China Ltd., 09 Civ. 2130, 2010 WL 1172829, at *10

(S.D.N.Y. Mar. 26, 2010); see also Conference of State Bank Supervisors v. Conover, 715 F.2d 604,

606 (D.C. Cir. 1983). Any domestic bank with BOC’s in-forum contacts would be subject to this

Court’s specific jurisdiction; Congress’s purposes in allowing BOC to open its branches here

demand the same result.

        Third, a key consideration in the Rule 45 context is “whether the nonparty actually has an

interest in the outcome of the case.” In re First Am. Corp., 184 F.R.D. 234, 241 (S.D.N.Y. 1998).

Even if nonparties subject to Rule 45 subpoenas generally have “no dog in th[e] fight,” Cusumano v.

Microsoft Corp., 162 F.3d 708, 717 (1st Cir. 1998), BOC undeniably does because it seeks to take

for itself what Plaintiffs are entitled to receive under the Lanham Act: Defendants’ counterfeiting

proceeds. See ECF 334. Remarkably, BOC claims that it is entitled to those funds to recoup

expenses it would have avoided if it complied with this Court’s orders. BOC’s chicanery is no basis

to evade this Court’s personal jurisdiction.

II.     MINIMUM CONTACTS, WHILE PRESENT, ARE UNNECESSARY TO
        EXERCISE SPECIFIC JURISDICTION OVER BOC

         “An examination of minimum contacts is not always necessary to determine whether a …

court’s assertion of personal jurisdiction is constitutional,” Asahi Metal, 480 U.S. at 121 (Stevens, J.,

concurring), since “[t]here are several contexts in which … the criteria set forth in International Shoe

and its progeny does not apply.” Wright et al., supra, § 1067.3.



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       A.      BOC Is Subject to Personal Jurisdiction under Fed. R. Civ. P. 45

        Rule 45 empowers this Court to order BOC’s compliance with the Subpoenas, and specifies

the burden that must be met for the Court to do so: (1) the subpoena must be properly served, and (2)

the materials requested must be “within 100 miles of where a person … regularly transacts

business.”     Fed. R. Civ. P. 45(b), (c)(2)(A).           Rule 45 has “presumptive validity

under … constitutional … constraints.” Burlington N. R.R. Co. v. Woods, 480 U.S. 1, 6 (1987).

Daimler has not undone that presumption, nor did Daimler address jurisdiction over a nonparty in

connection with a subpoena.13 BOC falls squarely under the Rule’s requirements: “Rule 45 draws

no distinction between parties and non-parties concerning the scope of discovery,” First Am. Corp.,

154 F.3d at 21, and BOC’s regular transaction of business in the forum is beyond debate.

Consequently, under Rule 45, BOC “may be required to produce materials in its possession, custody,

or control.” Dietrich v. Bauer, 95 Civ. 7051, 2000 WL 1171132, at *2 (S.D.N.Y. Aug. 16, 2000).

BOC can be compelled to produce documents located in China because it is “immaterial that the

documents sought may be located abroad, as the test for production of documents is control, not

location.” Id.; accord Hay Grp., Inc. v. E.B.S. Acquisition Corp., 360 F.3d 404, 411-12 (3d Cir.

2004) (Alito, J.).

        Subjecting BOC to Rule 45’s requirements raises no due process concerns. “[T]he extent

of … due process protection … depend[s] upon the quality and nature of the activity in relation to

the fair and orderly administration of the laws.” Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 806

(1985). Where a nonparty is subject to “fewer burdens” than an absent defendant in a litigation,

“[t]he Due Process Clause need not and does not afford [them] as much protection


13
     In fact, both the Supreme Court and Congress reaffirmed the continuing force of Rule 45 in the
     December 31, 2013 amendments to that rule, see 28 U.S.C. § 2027, which not only left in place
     the 100 mile provision but also expanded the district courts’ authority to hold a person in
     contempt for failure to comply, see Fed. R. Civ. P. 45(g).

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from … jurisdiction … as it does … [defendants].” Id. at 811. As a result, this Court “may exercise

jurisdiction … even though [the nonparty] may not possess the minimum contacts with the forum

which would support personal jurisdiction over a defendant.” Id. Such nonparties are entitled only

to “minimal due process protections.” Id. at 811-12.

        The Second Circuit has repeatedly recognized that a nonparty subject to a Rule 45 subpoena

faces substantially lesser burdens than a civil defendant. See In re Edelman, 295 F.3d 171, 179 (2d

Cir. 2002); First Am. Corp. v. Price Waterhouse LLP, 154 F.3d 16, 20 (2d Cir. 1998). In fact, the

Supreme Court “has never held that personal jurisdiction over a nonparty witness requires a showing

of minimum contacts like that required for a defendant.” SEC v. Lines Overseas Mgmt., Ltd., No.

04-302, 2007 WL 581909, at *2 n.8 (D.D.C. Feb. 21, 2007). Rule 45 also provides nonparties with

safeguards exceeding the “minimal” protections required by due process. See, e.g., In re Edelman,

295 F.3d at 178. Accordingly, because BOC, as a nonparty, is not subject to burdens that give rise to

the minimum contacts analysis, it should not be allowed to escape the implications of its extensive

contacts with New York.

        Further, BOC is subject to “transient” or “tag” jurisdiction in this Court as a result of its

physical presence in the jurisdiction, which has always been sufficient to obtain jurisdiction for

purposes of Rule 45. See, e.g., First Am. Corp., 154 F.3d at 20-21. The Supreme Court held that

“[a]mong the most firmly established principles of personal jurisdiction in American tradition is that

the courts of a State have jurisdiction over nonresidents who are physically present in the State.”

Burnham v. Super. Ct. of Cal., 495 U.S. 604, 610 (1990). Although the Supreme Court did not

address the question of whether tag jurisdiction applies to corporations, other courts have so held.14




14
     See, e.g., N. Light Tech., Inc. v. N. Lights Club, 236 F.3d 57, 63 & n.10 (1st Cir. 2001)
     (corporation); First Am. Corp., 154 F.3d at 20-21 (partnership); Eikenberry v. Celsteel Ltd., 13

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         B.      BOC Consented to Personal Jurisdiction in New York

          BOC established its New York branches under the International Banking Act, 12 U.S.C.

§ 3101 et seq., which subjects BOC to certain “rules, regulations, and orders … includ[ing]

provisions for service of process.” Elmaliach, 2010 WL 1172829, at *9 (quoting 12 U.S.C.

§ 3102(b)). Those regulations include 12 C.F.R. § 28.21, which provides that “[a] foreign bank

operating at any Federal branch or agency is subject to service of process at the location of the

Federal branch or agency,” id., here New York. By submitting to service of process per the

requirements of a federal statute, BOC has consented to personal jurisdiction here.15

III.      THE BEIJING JUDGMENT SUPPORTS THIS COURT’S COMITY ANALYSIS

          The Second Circuit expressly affirmed this Court’s comity analysis under Section 442 of the

Restatement, and rejected BOC’s contentions to the contrary. Gucci Am., 768 F.3d at 141. This

Court held that a balancing of the comity factors “strongly weigh[ed] in favor” of ordering BOC to

comply with the Subpoena because: (a) the requested documents are important to this litigation; (b)

Plaintiff’s document requests were sufficiently specific; (c) requests under the Hague Convention

“are not a viable alternative method of securing the information Plaintiffs seek”; (d) the

counterfeiters’ deliberate use of BOC “to thwart Congress and the reach of the Lanham Act,”

outweighed “China’s limited national interest in this case”; and BOC’s purported exposure to

liability in China was “unduly speculative.” ECF 75 at 7, 10-12, 13. The new Chinese court

decisions tip the comity factors even further towards ordering compliance.




       Civ. 4661, 2013 WL 5308028, at *2 (S.D.N.Y. Sept. 19, 2013) (corporation); R. Siskind & Co.,
       Inc. v. Ashworth, Inc., 95 Civ. 7707, 1996 WL 167722, at *3 (S.D.N.Y. Apr. 10, 1996) (same).
15
       See Ocepek v. Corp. Transp., Inc., 950 F.2d 556, 557 (8th Cir. 1991); Knowlton v. Allied Van
       Lines, Inc., 900 F.2d 1196, 1199 (8th Cir. 1990); R.R. Donnelley & Sons Co. v. Jet Messenger
       Serv., Inc., No. 03 C 7823, 2004 WL 1375402, at *4 (N.D. Ill. May 25, 2004); cf. Pa. Fire Ins.
       Co. v. Gold Issue Mining & Milling Co., 243 U.S. 93, 94-95 (1917).

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       First, the Beijing Judgment reinforces this Court’s finding that “the documents requested in

the Subpoena[s] are important to the instant litigation.” Id. at 7. That judgment revealed the

existence of accountholder agreements that permitted BOC to unilaterally freeze Defendants’

accounts. But BOC never produced these agreements despite their unmistakable importance to this

case. The Chinese judgment also revealed that Defendants had 30 accounts and transactions with

BOC, most of which were previously unknown to Plaintiffs.              Given the Second Circuit’s

confirmation that Plaintiffs are entitled to Defendants’ profits, and this Court’s finding that the

account documents are “the most effective measure of the revenues generated by Defendants,” id. at

6, the requested documents remain critically important.

       Second, the Beijing Judgment lays bare BOC’s bad faith in resisting discovery and

concealing deliberate actions that it told this Court it could not take. BOC deliberately withheld the

critical accountholder agreements. BOC has also failed to provide attachments from court filings

underlying the Beijing Judgment that contained information identifying Defendants’ accounts and

transactions (see supra n.10)—documents that were part of the public record (See Second Clarke

Decl. ¶ 20) and responsive to the Subpoenas. BOC’s bad faith weighs in favor of ordering

production. See, e.g., Linde v. Arab Bank, PLC, 706 F.3d 92, 110 (2d Cir. 2013). Moreover, BOC’s

new Chinese suit against Defendants (see 2d Cir. Dkt. 334) reveals that BOC was able to obtain a

court-ordered asset freeze when BOC chose to pursue Defendants’ assets for itself, in contrast to its

feeble defense in the suit leading to the Beijing Judgment.

       Third, the Beijing Judgment, far from subjecting BOC to “severe” sanctions, ordered it to pay

costs of only $12 dollars, undermining BOC’s claims of hardship. This is in keeping with the lack of

any punishment in connection with BOC’s production of documents in this case and in subsequent

cases. Indeed, BOC produced documents in Tiffany (NJ) LLC v. Forbse, 11 Civ. 4976 (NRB)




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(S.D.N.Y.) and in Wultz v. Bank of China Ltd., 11 Civ. 1266 (SAS) (S.D.N.Y) pursuant to court

orders after submission of the Chinese Regulator’s Letter that it claimed proved the Bank was

subject to sanctions. See ECF 90 at 4-6.

       Although the Beijing Judgment provides a rote quotation concerning Chinese banking

privacy laws that this Court already considered and found unpersuasive, see 2d Cir. Dkt. 291-2 at 17,

BOC’s willingness to reveal the information contained in the Beijing Judgment for its own strategic

purposes confirms this Court’s finding that any potential harm to BOC is speculative. Professor

Donald Clarke, previously found to be persuasive and credible (ECF 75 at 9), confirms that BOC’s

new submissions prove that BOC faces no real jeopardy from compliance with the Subpoenas and,

in fact, that BOC has a private contractual remedy of which, for some reason, it refuses to avail

itself. As set forth in the Second Clarke Declaration, the Beijing Judgment does not provide

“grounds for believing there is a strong state policy in favor of bank secrecy. It is a simple contract

case. The court found nothing unlawful about the contract, which gave BOC very broad rights over

its customers’ information in certain circumstances.” Second Clarke Decl. ¶¶ 14-18.

       In sum, this Court correctly concluded that “a balancing of the Restatement factors strongly

weighs in favor of ordering the Bank to comply with the Subpoena.” ECF 75 at 13. The Beijing

Judgment and the Chinese court’s asset freeze confirm this Court’s decision.




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                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter an order: (a)

compelling production of all documents requested in the 2010 and the 2011 Subpoenas; (b)

clarifying that “Defendants” covers Wenying Guo, Xiaochao Shang, Lei Xu, Fengyuan Zhao, Liqun

Zhao, Ming Zhao, and Peiyuan Zhao; and that all relevant accounts include all accounts in the name

of any Defendants; and (c) awarding such relief as this Court may deem just and proper.


Dated: New York, New York
       December 1, 2014
                                             Respectfully submitted,

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